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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


  ADELA AYALA, individually, and as
  next friend of L.O.A., a minor child,          Case No. 1:16-cv-00501-BLW

                                                 MEMORANDUM DECISION AND
         Plaintiffs,                             ORDER

         v.

  RICHARD M. ARMSTRONG, in his
  official capacity as Director of the Idaho
  Department of Health and Welfare and
  ELKE SHAW-TULLOCH, in her official
  capacity as Administrator of the Division
  of Public Health, Bureau of Vital Records
  and Health Statistics,

         Defendants.



                                   INTRODUCTION

       The matter before the Court is the Plaintiffs’ Motion for Attorneys’ Fees pursuant

to 42 U.S.C. § 1988(b). Dkt. 61. Defendants ask the Court to reduce the award sought

by Plaintiffs. Dkt. 64. After reviewing the Parties’ briefs, the Court GRANTS Plaintiffs’

request in part. The Court will award Plaintiffs’ attorneys’ fees in the amount of

$227,195.00.

                                       ANALYSIS

       Pursuant to 42 U.S.C. § 1988(b), a court may award reasonable attorney fees and

costs to “the prevailing party” in an action to enforce a provision of 42 U.S.C. § 1983.


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Plaintiffs’ claims seeking to protect their federal Due Process and Equal Protection rights

through injunctive relief was appropriately raised under § 1983. See Matsuda v. City &

County of Honolulu, 512 F.3d 1148, 1156 (9th Cir. 2008).

       After establishing that a plaintiff is entitled to attorney’s fees, the Court must

calculate a reasonable fee award. Hensley v. Eckerhart, 461 U.S. 424, 434 (1983).

Generally, the “lodestar figure,” which multiplies the number of hours reasonably

expended on the litigation by a reasonable hourly rate, determines the amount of the

award. Id. “There is a strong presumption that the lodestar figure represents a reasonable

fee. Only in rare instances should the lodestar figure be adjusted on the basis of other

considerations.” Morales v. City of San Rafael, 96 F.3d 359, 363 n.8 (9th Cir. 1996).

       Defendants do not dispute that Plaintiffs were the prevailing party, nor do they

dispute that Plaintiffs are entitled to attorneys’ fees pursuant to 42 U.S.C. § 1988.

Additionally, Defendants do not object to the hourly rates charged by Plaintiffs’

attorneys. The sole disagreement between the Parties is whether the number of hours

expended on this case by Plaintiffs’ counsel is unreasonable. Plaintiffs’ counsel state that

they spent 1,011.60 hours working on this case, and they request attorneys’ fees in the

amount of $363,360.00. Defendants ask the Court to reduce the hours variable to 300

hours total, which would result in an attorneys’ fees award in the amount of $171,690.00.

   1. Expended Hours by Plaintiffs’ Counsel

   The total number of hours expended by Plaintiffs’ counsel on this case is

unreasonable. Under § 1988, prevailing parties may only be compensated for those hours



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of work that were “reasonably expended” on the litigation. See Hensley, 461 U.S. at 434.

The moving party bears the burden of establishing the hours claimed and must carry this

burden by submitting adequate documentation of those hours. Id. at 437. Claimed hours

“may be reduced by the court where documentation of the hours is inadequate, if the case

was overstaffed and hours are duplicated, [or] if the hours expended are deemed

excessive or otherwise unnecessary.” Chalmers v. City of Los Angeles, 796 F.2d 1205,

2010 (9th Cir. 1986) (emphasis added). As discussed below, the Court finds Plaintiffs’

counsels’ hours were unreasonable because: (1) the pre-filing hours expended by

Plaintiffs’ counsel were excessive, (2) Plaintiffs’ counsel filed poorly written briefs

throughout the proceeding, and (3) Plaintiffs’ counsel raised numerous legal arguments,

in a “shotgun” fashion, that were not dispositive in the litigation.

          a. Plaintiffs’ Counsels’ Pre-Filing Expended Hours Are Excessive

       To begin with, Plaintiffs’ counsel—who have a combined 50 years of experience

as attorneys—fail to explain why they required over 300 hours to prepare and file the

complaint. See Dkt. 61; Dkt. 65. The pre-filing hours amount to almost a third of the

total hours billed by Plaintiffs’ counsel. With such a large portion of the fee request

coming from this phase of the suit, the Court would expect a reasoned explanation from

Plaintiffs’ counsel justifying their hours. An experienced attorney, charging a high

hourly rate, is expected to be “more efficient at performing the necessary tasks[.]” See

Ferland v. Conrad Credit Corp., 244 F.3d 1145, 1148 (9th Cir. 2001). Absent a reasoned

explanation by Plaintiffs’ counsel, the Court finds that the 300 hours sought for pre-



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complaint work is excessive considering the experience of both attorneys and the relative

lack of complexity of the case. See id.; Morales v. City of San Rafael, 96 F.3d 359, 363,

364 n.9 (9th Cir. 1996) (explaining that in lodestar calculations, to determine reasonable

attorneys’ fees award, the Court must take into account, among other factors, the novelty

and complexity of the issues, and the skill and experience of the attorneys).

          b. Plaintiffs’ Briefing Was Generally Unhelpful

       In general, Plaintiffs’ briefing throughout the proceedings was not of the high

quality that the Court expects of attorneys who practice before it. By way of example,

the reply brief filed by Plaintiffs’ counsel regarding their Motion for Permanent

Injunction was troubling. The Court expects that a reply brief, perhaps more so than any

other submission to the Court, will build upon the briefing already submitted, focus the

Court’s attention on what is really at issue, and will be very succinct and to the point.

       In this case, Plaintiffs’ counsel simultaneously filed an overlength brief and

Motion for Leave to File Excess Pages, Dkt. 20, one day before the filing deadline. The

submitted reply brief was riddled with grammatical and substantive errors, was

unfocused, and was unjustifiably longer than permitted by Rule. The Court took virtually

nothing away from the brief, thereby rendering the writing the brief an exercise in futility.

          c. Plaintiffs’ Counsels’ Advocacy Was Not A Major Factor in Plaintiffs
             Securing A Favorable Resolution of Their Case

       Finally, the Court notes that despite the excessive hours expended by Plaintiffs’

counsel in this case, Plaintiffs’ counsels’ advocacy was ultimately not a major factor in

securing the favorable result for Plaintiffs in this case. Undoubtedly, the issue of same-


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sex marriage is a complex issue that this Court and others have wrestled with.

Furthermore, challenges to the constitutionality of state statutes also generally involve

nuanced and difficult arguments.

       But, despite the complexity of the subject matter, this case was relatively

straightforward. It involved a Due Process Clause and Equal Protection Clause challenge

to an Idaho state statute. Rather than cogently laying out the legal analysis and relevant

facts in this case however, Plaintiffs’ counsel both in their briefs and at oral argument

repeatedly put forth duplicative and irrelevant arguments. Plaintiffs’ counsel spent

precious little time on the dispositive issues in this case. At times, counsels’ advocacy

shrouded, rather than illuminated, the dispositive issues in this case.

   2. Plaintiffs’ Counsels’ Fee Award Will Be Reduced by 345 Hours

       The attorneys’ fee award sought by Plaintiffs will be reduced by 345 hours, to

account for (1) the unreasonable number of hours expended by Plaintiffs’ counsel prior to

filing the complaint, (2) the unhelpful briefing filed by Plaintiffs’ counsel, and (3) the fact

that Plaintiffs’ counsel failed to offer much argument or analysis of the legal issues that

ultimately yielded a favorable result for Plaintiffs in this case. The 345-hour reduction

will be distributed pro rata based on the experience of each attorney. Thus, Howard A.




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Belodoff’s hours will be reduced by 275 hours and Jennifer A. Giutarri’s hours will be

reduced by 70 hours.1

                                           CONCLUSION

        In sum, the Court will award Plaintiffs’ counsels fees as follows:

                                                            Hours
                           Requested                                        Hourly           Total
                                           Reduction         After
                            Hours                                            Rate            Award
                                                           Reduction
Howard A. Belodoff            567.8            275           292.8            $425          $124,400
Jennifer A. Giutarri          443.8            70            373.8            $275          $102,795
                                                                                            $227,195


                                               ORDER

        IT IS HEREBY ORDERED:

        1) Plaintiffs’ Motion for Attorneys’ Fees (Dkt. 61) is GRANTED in the amount

             of $227,195.00.

                                                         DATED: January 3, 2019


                                                         _________________________
                                                         B. Lynn Winmill
                                                         U.S. District Court Judge




        1
         Plaintiffs’ counsel also ask the Court to award attorneys’ fees in the amount of $7,650 for time
expended on drafting and filing the Reply brief regarding their Motion for Attorneys’ Fees. Dkt. 65 at 10.
That request is denied in light of the foregoing opinion.



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